      Case 5:04-cv-00341-SPM-AK Document 7 Filed 05/10/05 Page 1 of 3




                                                                              Page 1 of 3


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           PANAMA CITY DIVISION

MARQUITA TOOMBS,

        Petitioner,

vs.                                                    5:04-CV-341-SPM

JOSE BARRON, Warden,

     Respondent.
_____________________________/

  ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION
                   AND DISMISSING CASE

        THIS CAUSE comes before the Court upon the magistrate judge's report

and recommendation (doc. 6) filed April 5, 2005. The parties have been

furnished a copy and have been afforded an opportunity to file objections. No

objections were filed.

        Pursuant to Title 28, United States Code, Section 636(b)(1), I have

determined that the report and recommendation should be adopted.

        Accordingly, it is

        ORDERED AND ADJUDGED as follows:

        1.     The magistrate judge's report and recommendation (doc. 6) is

               adopted and incorporated by reference in this order.
       Case 5:04-cv-00341-SPM-AK Document 7 Filed 05/10/05 Page 2 of 3




                                                                              Page 2 of 3


         2.    The petition for writ of habeas corpus (doc. 5) is denied for failure to

               exhaust administrative remedies.

         3.    This case is dismissed without prejudice.

         DONE AND ORDERED this tenth day of May, 2005.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge

/pao
Case 5:04-cv-00341-SPM-AK Document 7 Filed 05/10/05 Page 3 of 3




                                                           Page 3 of 3
